                    Case 2:22-cv-00538-LK Document 1 Filed 04/21/22 Page 1 of 2

Form transrec (11/2017)

                                  UNITED STATES BANKRUPTCY COURT
                                       Western District of Washington
                                         700 Stewart St, Room 6301
                                             Seattle, WA 98101


In
Re:                                                       Case Number: 22−01000−TWD
       Cary v. Patch Services LLC et al                   Chapter: 0

       Debtor(s).


                                          TRANSMITTAL OF RECORD



The Clerk of the U.S. Bankruptcy Court for the Western District of Washington transmits to the Clerk, Clerk, U.S.
District Court, Western District of Washington the original documents relating to the motion of withdrawal of
reference filed on April 15, 2022.

The following documents are included:


Motion to Withdraw the Reference, Stipulation of the Parties in Support of Defendants' Motion for Withdrawal of
Reference, Notice of Intent Not to File Response to Defendants' Motion for Withdrawal of Reference, and Order
Directing Clerk to Transmit the Motion for Withdrawal of the Reference to the District Court.


Dated: April 21, 2022

                                                          Mark L. Hatcher
                                                          Clerk of the Bankruptcy Court
                     Case 2:22-cv-00538-LK Document 1 Filed 04/21/22 Page 2 of 2

                                                    Notice Recipients
District/Off: 0981−2                       User: admin                  Date Created: 4/21/2022
Case: 22−01000−TWD                         Form ID: transrec            Total: 1


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